Case 2:23-cv-00167-DBB-CMR Document 26 Filed 02/09/24 PageID.270 Page 1 of 1




                            THE UNITED STATES DISTRICT COURT
                                    DISTRICT OF UTAH

    NAOMI KEHL,
                                                        ORDER DENYING DEFENDANTS’
            Plaintiff,                                    [15] MOTION TO DISMISS
    vs.
                                                                Civil No. 2:23-cv-167
    TONY LEBLANC and WESTMINSTER
    COLLEGE,
                                                                 Judge David Barlow
            Defendants.


          On May 30, 2023, Defendants filed their Motion to Dismiss Plaintiff’s Complaint.1 On July

27, 2023, Plaintiff filed a Motion to Amend her Complaint.2 Plaintiff’s Motion to Amend her

Complaint is now fully briefed and pending before the magistrate judge. Because the disposition

of the Motion to Amend may affect the Motion to Dismiss, the court now administratively

DENIES without prejudice the Defendant’s Motion to Dismiss.3 Defendants are granted leave to

refile their motion to dismiss after the motion to amend is decided.

          Signed February 8, 2024.

                                               BY THE COURT:


                                               David Barlow
                                               United States District Court Judge




1
  ECF No. 15.
2
  ECF No. 22.
3
  ECF No. 15.
